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                        Exhibit 3


          PCLLP’s Second Interim Fee Application
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )     Objection Deadline: August 30, 2021

                               COVER PAGE TO:
            SECOND INTERIM APPLICATION OF PRYOR CASHMAN LLP
           FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
      SPECIAL LITIGATION COUNSEL TO THE DEBTOR FOR THE PERIOD FROM
              APRIL 1, 2021 THROUGH AND INCLUDING JUNE 30, 2021

    Name of Applicant:                                    Pryor Cashman LLP



    Authorized to Provide Professional                    Debtor
    Services to:
    Date of Retention:                                    Order entered on February 5, 2021 [D.I. 106],
                                                          retention effective as of January 11, 2021
    Period for which compensation and                     April 1, 2021 through June 30, 2021 (the
    Reimbursement is sought:                              “Application Period”)
    Total Amount of Compensation sought                   $32,557.00
    as actual, reasonable and necessary:
    80% of Compensation Sought as Actual,                 $26,045.60
    Reasonable and Necessary:
    Amount of Expense Reimbursement                       $792.91
    sought as actual, reasonable and necessary:

This is a(n)       X interim          monthly           final fee application.




1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
                                                           1
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    SUMMARY OF SECOND APPLICATION OF PRYOR CASHMAN LLP FOR
   ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
    PURSUANT TO SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
               LITIGATION COUNSEL FOR THE DEBTOR

                                  Fees by Professional
                        (from April 1, 2021 through June 30, 2021)

                                                        Hourly        Total     Total
        Name                Position/ Experience
                                                         Rate        Hours Compensation
Todd E. Soloway        Partner,                        $1200.00      7.1    $8,520.00
                       Admitted in New York in 1992
                       Admitted in New Jersey in 1992
Bryan T. Mohler        Partner,                       $720.00        19.5   $14,040.00
                       Admitted in New York in 2008.
Itai Y. Raz            Associate,                      $515.00-      19.1   $9,997.00
                       Admitted in New York in 2018    $530.00
Total                                                  $712.41       45.7   $32,557.00
                                                       (Blended
                                                       Hourly
                                                       Rate)




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                       COMPENSATION BY PROJECT CATEGORY

      Project Category                    Total Hours                  Total Fees
Litigation                                              45.7                      $32,557.00
TOTALS                                                  45.7                      $32,557.00




                                 EXPENSE SUMMARY

                       Expense Category                                 Amount
Copies                                                                                $2.76
Electronic Discovery                                                                $789.35
US Court Docket Expense                                                                $0.80
TOTAL                                                                               $792.91




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    WARDMAN HOTEL OWNER, L.L.C., 1                          )     Case No. 21-10023 (JTD)
                                                            )
                             Debtor.                        )
                                                            )

                                                                                Objection Deadline: August 30, 2021


SECOND INTERIM APPLICATION OF PRYOR CASHMAN LLP FOR ALLOWANCE
  OF COMPENSATION AND REIMBURSEMENT OF EXPENSES PURSUANT TO
         SECTION 330 OF THE BANKRUPTCY CODE, AS SPECIAL
              LITIGATION COUNSEL FOR THE DEBTOR

             Pryor Cashman LLP (“PCLLP”), as special litigation counsel for Wardman Hotel Owner,

L.L.C. (the “Debtor”), in the above-captioned chapter 11 case (the “Chapter 11 Case”),

respectfully submits this second interim application (“Application”), pursuant to section 330 of

title 11 of the United States Code (the “Bankruptcy Code”), for allowance of (i) compensation for

professional services rendered to the Debtor and (ii) for reimbursement of actual and necessary

costs and expenses incurred in connection with PCLLP’s representation of the Debtor as its special

litigation counsel in this Chapter 11 Case from April 1, 2021 through June 30, 2021 (the

“Application Period”). PCLLP respectfully represents as follows:

                                       JURISDICTION AND VENUE

             1.    This Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157 and

1334. Venue of this case is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The



1      The last four digits of the Debtor’s U.S. tax identification number are 9717. The Debtor’s mailing address is
       5035 Riverview Road, NW, Atlanta, GA 30327.
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statutory predicate for the relief sought herein is sections 330 and 331 of the Bankruptcy Code,

rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure and Local Rule 2016-2 (the

“Bankruptcy Rules”).

                                          BACKGROUND

          2.    On January 11, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code. The Debtor is managing its properties as debtor

in possession pursuant to Bankruptcy Code sections 1107(a) and 1108. No trustee or examiner

has been appointed in the Debtor’s chapter 11 case, and no committees have been appointed or

designated.

          3.    The factual background regarding the Debtor, including its historical business

operations and the events precipitating the chapter 11 filing, is set forth in detail in the Declaration

of James D. Decker in Support of Debtor’s Chapter 11 Petition and First Day Motions [Docket

No. 2].

                               PROFESSIONAL FEE MATTERS

          4.    On January 19, 2021, the Debtor filed its application to employ PCLLP as special

litigation counsel for the Debtor (the “PCLLP Retention Application”) [Docket No. 49]. The

PCLLP Retention Application was granted by order of the Bankruptcy Court dated February 5,

2021 nunc pro tunc to January 11, 2021 [Docket No. 106].

          5.    By this Application, PCLLP respectfully seeks an order of this Court, pursuant to

Bankruptcy Code sections 330, allowing PCLLP, the sum of (i) $32,557.00 for professional fees

recorded from April 1, 2021 through June 30, 2021 as compensation for services rendered during

the Application Period (80% of which is $26,045.60), and (ii) the sum of $792.91 for

disbursements recorded from April 1, 2021 through June 30, 2021 as reimbursement of expenses
                                              2
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incurred during the Application Period, and (c) authorizing and directing the Debtor to pay PCLLP

such allowed amounts.

       6.      PCLLP has not sought or received payment of any compensation for services

rendered or reimbursement of expenses since the Petition Date.

       7.      All services performed and expenses incurred by PCLLP for which compensation

and reimbursement are requested hereby were actually performed or incurred for and on behalf of

the Debtor, were necessary, and were beneficial to the Debtor’s estate.

       8.      The services rendered by PCLLP during the Application Period as special litigation

counsel are summarized below. Specifically, PCLLP rendered the following services during the

Application Period as counsel to the Debtor:

               a.     PCLLP spent time representing and advising the Debtor on issues related to

the transition of the Debtor’s asset, the property formerly known as Washington Marriott Wardman

Park Hotel (the “Property”), from a Marriott-branded property to a non-branded property following

the Debtor’s termination of the hotel management agreement (“HMA”) with Marriott Hotel

Services, Inc. (“Marriott”). This included issues related to negotiations of an orderly transition,

the removal of third-party property from the Property, and dealings of various issues with Marriott

related to the Chapter 11 Case and the Maryland Proceedings (as defined below).

               b.     PCLLP also spent time attending to issues related to claims brought by and

against Marriott related to the HMA, including the Proof of Claim filed by Marriott on June 30,

2021 [Claim 42 in the Chapter 11 Case], advising the Debtor on issues related to Marriott’s

performance under the hotel management agreement, and the preparation and filing of an

adversary complaint against Marriott in this Court entitled Wardman Hotel Owner, L.L.C. v.

Marriott Hotel Services, Inc., Case 21-10023-JTD.
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                c.      PCLLP also spent time attending to issues related to the lawsuit brought by

Marriott against the Debtor in the Circuit Court for Montgomery County, Maryland entitled

Marriott Hotel Services, Inc. v. Wardman Hotel Owner, L.L.C., et al., Case No. 483406-V, and

the related appeal in the Maryland Court of Special Appeals, Case No. CSA-REG-1150-2020

(collectively, the “Maryland Proceedings”).

                d.      PCLLP also spent time attending to other issues related to this proceeding,

including its first interim fee application, its Proof of Claim, and attending proceedings held before

this Court.

        9.      Attached hereto as Exhibit A is PCLLP’s billing detail for the Application Period

providing: (i) the name of the attorney or paraprofessional performing the services and their billing

rate; (ii) the date the services were performed; (iii) a description of the services performed; (iv) the

amount of time expended; and (v) the fees incurred.

                                   SUMMARY OF EXPENSES

        10.     During the Application Period, PCLLP incurred or disbursed actual and necessary

costs and expenses related to this case in the aggregate amount of $792.91. The expenses incurred

include, among other things, US Court Docket expenses, electronic discovery, and photocopier

charges. A description of the necessary costs and expenses incurred by PCLLP is attached hereto

as part of Exhibit A.

        11.     Pursuant to Rule 2016-2 of the Local Rules of Bankruptcy Practice and Procedure,

PCLLP represents as follows with regard to its charges for actual and necessary costs and expenses

incurred during the Application Period:

                a.      Charges for copies are $0.46 per page, which charges are reasonable and

        customary in the legal industry and represents the costs of copy material, acquisition,
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        maintenance, storage and operation of copy machines, together with a margin for recovery

        of related expenditures;

                  b.       All other expenses are billed at actual costs and rates determined by the

        service providers—they are not “profit centers” for PCLLP.

                                        STATEMENT FROM PCLLP

        12.       Pursuant to the Appendix B Guidelines for Reviewing Application for

Compensation and Reimbursement of Expenses Filed Under United States Code by Attorneys in

Larger Chapter 11 Cases, PCLLP responds to the following questions regarding the Application:

 Question                                                              Yes   No   Additional Explanation or
                                                                                  Clarification
 Did you agree to any variations from, or alternatives to, your              X
 standard or customary billing rates, fees or terms for services
 pertaining to this engagement that were provided during the
 application period? If so, please explain.
 If the fees sought in this fee application as compared to the fees               N/A
 budgeted for the time period covered by this fee application
 higher by 10% or more, did you discuss the reasons for the
 variation with the client?
 Have any of the professionals included in this fee application              X
 varied their hourly rate based on the geographic location of the
 bankruptcy case?
 Does the fee application include time or fees related to                    X
 reviewing or revising time records or preparing, reviewing, or
 revising invoices?
 Does this fee application include time or fees for reviewing          X          1.9 hours
 time records to redact any privileged or other confidential
 information? If so, please quantify by hours and fees.
 If the fee application includes any rate increases since retention               As disclosed in PCLLP’s
 in this case:                                                                    retention application, it is
      i.        Did your client review and approve those rate                     standard for PCLLP to
                increases in advance?                                             periodically adjust its hourly
      ii.       Did your client agree when retaining the law firm                 rates. Accordingly, PCLLP’s
                to accept all future rate increases? If not, did you              hourly rates were adjusted on
                inform your client that they need not agree to                    June 1, 2021. In its retainer
                modified rates or terms in order to have you                      agreement with PCLLP, the
                continue the representation, consistent with ABA                  Debtor agreed to accept
                Formal Ethics Opinion 11-458?                                     future rate increases.




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               DECLARATION PURSUANT TO BANKRUPTCY RULE 2016

       13.     No agreement or understanding exists between the Debtor and any other person, or

PCLLP and any other person, for a division of compensation received or to be received for services

rendered in or in connection with this Chapter 11 Case.

       14.     No agreement or understanding prohibited by 18 U.S.C. § 155 has been or will be

made by PCLLP. The services covered by were performed for and solely on behalf of the Debtor.

                 REPRESENTATIONS AND RESERVATION OF RIGHTS

       15.     In accordance with the factors enumerated in Section 330 of the Bankruptcy Code,

the amounts requested herein for compensation and expense reimbursement are fair and reasonable

given (a) the complexity of these cases, (b) the time expended by the attorneys and

paraprofessionals at PCLLP, (c) the nature and extent of the services rendered, (d) the value of

such services, and (e) the costs of comparable services other than in a case under this title.

       16.     The undersigned has reviewed the requirements of Local Bankruptcy Rule 2016-2

and hereby attests that this Application conforms to such requirements.

       17.     Although every effort has been made to include all fees and expenses incurred in

the Application Period, some fees and expenses might not be included in this Application due to

delays caused by accounting and processing during the Application Period. PCLLP reserves the

right to make further applications to this Court for allowance of such fees and expenses not

included herein. Subsequent fee applications will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, the Local Bankruptcy Rules and the Interim Compensation Order.




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                             NOTICE AND PRIOR APPLICATION

       18.       Notice of this Application has been provided in accordance with the Interim

Compensation Order. PCLLP submits that the foregoing constitutes good and sufficient notice

and that no other or further notice need be provided.

       19.       No previous application for the relief sought herein has been made to this or any

other court.

       WHEREFORE, PCLLP respectfully requests approval of $32,557.00 as the total

compensation for professional services rendered during the Application Period, 80% of which

($26,045.60) is to be paid upon the filing of a certificate of no objection, and the sum of $792.91

for reimbursement of actual and necessary costs and expenses incurred by PCLLP during the

Application Period in this case from April 1, 2021 through June 30, 2021.


Dated: New York, New York
       August 9, 2021

                                                        PRYOR CASHMAN LLP


                                                        By: /s/ Todd E. Soloway
                                                               Todd E. Soloway
                                                               Bryan T. Mohler
                                                               Itai Y. Raz
                                                        7 Times Square
                                                        New York, NY 10036
                                                        (212) 421-4100

                                                        Special Litigation Counsel for the Debtor




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                         Exhibit A
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                         (1.2)




 Attention to property vendor issues

                                                     and u                     (.5)

                             (.2)

                             (.3)

                      (.7)

                                       (.5)




                                (.3)

 Attention to                       issues (.2)



                      (.2)




                                                                        1
                      (.2)



                                              (.4)

                      (.6)

                               (.3)

 Prepare for and a                                                    team
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 Attend


                            (.1)

           team




                                                                (.5)

                                                (.2)


                   (.6)




                                   hotel               issues


                          adversary complaint
                                 s related




                        (.6)
 expected Marriott claim, adversary complaint (3.5)

                                                                            .0


 hotel
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                                            of adversary complaint

      IR research fin   and related documents, confer w/ IR




                                    (2.4)
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                                                                                              Pryor Cashman LLP               •
           PRYOR CASHMAN                                                                      7 Times Square
                                                                                              New York, NY 10036          •   r   •




                                                                                                                     July 22, 2021
                                                                                                       Invoice Number: 493767
   James Decker
   c/o JDecker & Company
   5035 Riverview Road, NW
   Atlanta, GA 30327
   jim@jdeckerco.com




   RE: 29441.00001           Marriott Wardman Park Dispute



   Forprofessionalservices rendered through June 30, 2027:


           Total Fees                                                                 $32,557.00

           Total Disbursements                                                           $792.91

                             TOTAL THIS INVOICE                                  4%
                                                                                  1;23,349.91




                                                      <\         e       '




   For billing inquiries please email: billing@piyorcashman.com                              Federal Tax Identification Number:
                                        r
   All amounts are expressed in United States Dollars. To ensure proper credit to the above account, please indicate invoice no.
   493767. Details of invoices being paid can be emailed to: receipts@pryorcashman.com.

   Wire and ACH funds accepted:                                              Remittance Address (If paid by check)
   Bank Name:                                                                Pryor Cashman LLP
   Address:                                                                  7 Times Square
   Account Name:                                                             New York, NY 10036
   ABA Number:                                                               Attention: Accounting Department
   Account Number:
   Swift Code:                                                               (Please return remittance page with check)



Tel: 212-421-4100 I Fax: 212-326-0806 I New York I Los Angeles I Miami                                           pryorcashman.con
